No. 578              August 21, 2024                    437

          IN THE COURT OF APPEALS OF THE
                  STATE OF OREGON

                  STATE OF OREGON,
                   Plaintiff-Respondent,
                             v.
                JAMES WILLIAM COOK,
               aka James William Cook, Jr.,
                   Defendant-Appellant.
                Grant County Circuit Court
                   21CR26992; A177498

  Robert S. Raschio, Judge.
  Argued August 10, 2023.
   Peter G. Klym, Deputy Public Defender, argued the
cause for appellant. Also on the brief was Ernest G. Lannet,
Chief Defender, Criminal Appellate Section, Office of Public
Defense Services.
   Carson L. Whitehead, Assistant Attorney General, argued
the cause for respondent. Also on the brief were Ellen F.
Rosenblum, Attorney General, and Benjamin Gutman,
Solicitor General.
  Before Shorr, Presiding Judge, Mooney, Judge, and Pagán,
Judge.
  SHORR, P. J.
  Reversed.
438                                                             State v. Cook

              SHORR, P. J.
         Defendant appeals from a judgment of conviction
for one count of telephonic harassment, ORS 166.090(1)(c).1
In his sole assignment of error, he asserts that the trial
court erred in denying his motion for judgment of acquit-
tal (MJOA). He contends that the statute on which his con-
viction is based is facially overbroad or, if not facially over-
broad, that it is unconstitutional as applied to the facts of
this case. We conclude that the statute as applied to defen-
dant violated his rights under Article I, section 8, of the
Oregon Constitution, and, accordingly, we reverse.
         We review the question whether ORS 166.090(1)(c)
violates Article I, section 8, of the Oregon Constitution2 as a
matter of law. State v. Rangel, 328 Or 294, 298, 977 P2d 379(1999).
        The underlying facts are undisputed. Defendant
was convicted after a jury trial of telephonic harassment
based on text messages he sent to his ex-wife, K. Defendant
and K, who were divorced in April 2019, have two children.
The children lived with K, and defendant had parenting
time every other weekend. Defendant and K generally com-
municated about parenting issues and parenting time via
text message.
         On October 27, 2020, defendant and K exchanged
text messages. K’s last text message that day stated, “Leave
me alone jimmy” and defendant replied, “Later, tweaky
bird.” The following day, defendant began a text message
exchange with K—the messages that are the basis of his
conviction—by sending two messages: “Hey how’s everyone
    1
        ORS 166.090(1) states, in part:
        “A telephone caller commits the crime of telephonic harassment if the
    caller intentionally harasses or annoys another person:
          “* * * * *
        “(c) By sending to, or leaving at, the other person’s telephone a text mes-
    sage, voice mail or any other message, knowing that the caller has been for-
    bidden from so doing by a person exercising lawful authority over the receiv-
    ing telephone.”
    2
      Article I, section 8, of the Oregon Constitution states, “No law shall be
passed restraining the free expression of opinion, or restricting the right to
speak, write, or print freely on any subject whatever; but every person shall be
responsible for the abuse of this right.”
Cite as 334 Or App 437 (2024)                                 439

in hell?” and “I mean, how is everyone living with you. Are
[the children] doing good?” That exchange continued:
     “[K:] Kids are fine.
     “[Defendant:] What r they doing?
     “[K:] [C] in school sis playing
      “[Defendant:] Do you even know or are you still telling
  to ‘go away!’ and ‘leave me alone!’
     “[K:] Leave me alone
     “[Defendant:] Why not work on number and letters
  since you guys have this quality time?
     “[K:] Leave me alone jimmy
     “[Defendant:] Try giving a fuck about their mental
  health and growth!? Because you never did? They aren’t
  just pawns in your little game. Read, write, draw, ect.. with
  them. Try loving them
     “[Defendant:] I can’t expect you to help them grow as
  people because you still don’t know how.
    “[Defendant:] [meme photo with text ‘YOU SAY YOU
  QUIT THE METH……YOUR TORE UP FACE AND
  GIANT PUPILS DETERMINED THAT WAS A LIE’]
     “[K:] Leave me the hell alone jimmy
     “[Defendant:] I want to make sure my children are
  taken care of. That’s their minds and bodies. I don’t think
  you can. Bodies yeah, you can. Mentally they need to be
  away from you.
     “[K:] For the love of god just fucking stop leave me
  alone
      “[Defendant:] Do you feel attacked when the truth is
  thrown in your face or something? I know you aren’t famil-
  iar with tell the truth so its probably hard for you to hear.”
         K contacted the John Day Police Department and
spoke with Officer Durr about filing a complaint or stopping
defendant from texting her. Durr collected screenshots of
the text messages from K’s cell phone.
         Defendant was ultimately charged by information
with telephonic harassment under ORS 166.090, in part:
440                                                            State v. Cook

       “The defendant, on or about October 28, 2020, in Grant
    County, Oregon, did unlawfully and intentionally harass
    or annoy [K] by sending to or leaving at the telephone [of]
    such other person a text message or voice mail or message,
    defendant knowing that defendant had been forbidden
    from doing so by a person exercising lawful authority over
    the receiving telephone.”
          At defendant’s jury trial, K agreed during her testi-
mony that she would have been able to text with defendant
if it involved the children and that she would not have told
defendant to leave her alone if he was talking about “par-
enting stuff.” After the state rested, defendant raised an
MJOA, asserting, in part, that his text messages to K were
protected speech under Article I, section 8, of the Oregon
Constitution. The trial court denied the MJOA. Relying on
State v. Koenig, 238 Or App 297, 242 P3d 649 (2010), rev den,
349 Or 601 (2011), the court stated that it believed “that the
jury can consider the content of a message for the purposes
of determining whether or not it is harassing or annoying
to the other party” and that “it isn’t an Article I, Section 8,
problem if the jury considers expressive conduct in deter-
mining whether or not the person was trying to intention-
ally harass or annoy the other person.”3
         The trial court also concluded that under the stat-
ute in question, “a person could commit the crime of tele-
phonic harassment by sending a text after being told not to
send a text” and then “the receiving party could later text
that individual, reinstituting communication” and would
again need to tell the sender to stop in order to eliminate
further communication via text messages. The court deter-
mined, viewing the facts in the light most favorable to the
state, that “there was a context set up for texting that it
was to be related to the children and the children’s care”
and when “[d]efendant veered course and started send-
ing personally-offensive and harassing messages to [K],
[K] responded by telling him to stop.” Defendant then
    3
      In Koenig, we stated, “[T]he expressive conduct identified by defendant (his
speech during the telephone calls) is not relevant to proving the forbidden result
(harassment), * * * rather, that expressive conduct, along with other evidence, is
relevant to show defendant’s intent. * * * Criminal laws are not unconstitutional
under Article I, section 8, simply because that culpable mental state might be
proved by expressive conduct.” 238 Or App at 303.
Cite as 334 Or App 437 (2024)                                     441

“persisted * * * to send additional messages in direct contra-
vention of [K] saying, ‘Don’t contact me via text in the way
that you are.’ ” The trial court acknowledged that the statute
“is a little problematic” and “the facts in this case are prob-
lematic because [defendant] did establish a texting relation-
ship for purposes of communicating with each other about
the children, and he was allowed to communicate with her
on that level.” But, according to the trial court, once the con-
tent of the messages shifted to what the jury could construe
as being harassing and annoying, K could tell him to stop;
however, “he persisted.” The jury ultimately found defen-
dant guilty, and defendant appealed.
         The analytical framework for evaluating a law’s
constitutionality under Article I, section 8, is set forth in
State v. Robertson, 293 Or 402, 649 P2d 569 (1982).
   “Under Robertson, a law is unconstitutional if it is ‘writ-
   ten in terms directed to the substance of any “opinion” or
   any “subject” of communication’ unless the scope of the
   restraint is ‘wholly confined within some historical excep-
   tion[.]’ Id. at 412. If a law is not directed at the substance of
   any opinion, a court must nonetheless determine whether
   the law focuses on forbidden effects and ‘the proscribed
   means [of causing those effects] include speech or writing,’
   or whether it is ‘directed only against causing the forbid-
   den effects.’ State v. Babson, 355 Or 383, 391, 326 P3d 559
   (2014) (quoting Robertson, 293 Or at 417-18). ‘If the law
   focuses on the forbidden effects, and the proscribed means
   of causing those effects include expression, then the law is
   analyzed under the second Robertson category.’ Id. Under
   that category, we determine ‘whether the law is overbroad,
   and, if so, whether it is capable of being narrowed.’ Id. If the
   law focuses only on forbidden effects, the law falls into the
   third Robertson category, and an individual can bring an
   as-applied challenge to the law.”
State v. Smith, 319 Or App 388, 390, 510 P3d 217, rev den,
370 Or 404 (2022) (brackets in Smith).
         On appeal, defendant contends that the trial court
erred when it denied his MJOA because the telephonic harass-
ment statute, ORS 166.090(1)(c), violates Article I, section 8,
on its face or, in the alternative, as applied to his conduct.
That is, he contends that the statute is unconstitutional
442                                              State v. Cook

under the second or third Robertson categories. The state
argues that ORS 166.090(1)(c) is constitutional under both
of those categories.
         We begin with defendant’s argument that ORS
166.090(1)(c) falls under the second Robertson category and
that it is unconstitutionally overbroad because it prohibits
privileged speech. ORS 166.090(1) states:
      “A telephone caller commits the crime of telephonic
   harassment if the caller intentionally harasses or annoys
   another person:
      “(a) By causing the telephone of the other person to
   ring, such caller having no communicative purpose;
       “(b) By causing such other person’s telephone to ring,
   knowing that the caller has been forbidden from so doing
   by a person exercising lawful authority over the receiving
   telephone; or
       “(c) By sending to, or leaving at, the other person’s
   telephone a text message, voice mail or any other message,
   knowing that the caller has been forbidden from so doing
   by a person exercising lawful authority over the receiving
   telephone.”
Defendant argues that ORS 166.090(1)(c) is written to focus
on a harm, that harm being harassment or annoyance,
but the means of achieving that harm necessarily involve
expression—by sending a text message, voicemail, or other
message. He argues that it is not expression neutral because
it involves leaving a message intended to harass or annoy.
The state responds that the text of paragraph (1)(c) targets
conduct—the act of “sending” or “leaving” a text message or
voicemail on the victim’s phone with the intent to harass or
annoy—the statute does not target expression itself and it
does not matter what the text message says.
        We agree with the state that ORS 166.090(1)(c)
is not unconstitutional on its face. “[A]s a general rule, to
warrant review for facial overbreadth, a law must expressly
restrain speech.” State ex rel Rosenblum v. Living Essentials,
LLC, 371 Or 23, 55, 529 P3d 939 (2023). Nothing in the
statute requires that the content of the text be harassing
or annoying. Rather, the statute requires that “the caller
Cite as 334 Or App 437 (2024)                                443

intentionally harasses or annoys another person” by “send-
ing to, or leaving at, the other person’s telephone a text mes-
sage” when that person knows that they have been forbidden
from doing so. The intent of the person who sends the text
message must be to harasses or annoy, but the actual text
message itself could be anything. It is the act of sending the
text itself that is the proscribed means of causing the harm.
          We turn to defendant’s argument that ORS
166.090(1)(c) is unconstitutional as applied to him. “To deter-
mine whether a ‘category three’ law violates Article I,
section 8, as applied to particular conduct, ‘the court must
examine how the law was applied to determine whether
the application was directed at the content or the expres-
sive nature of an individual’s activities, advanced legitimate
state interests, and provided ample alternative opportuni-
ties to communicate the intended message.’ ” State v. Pucket,
291 Or App 771, 774-75, 422 P3d 341, rev den, 363 Or 727(2018) (quoting Babson, 355 Or at 408). That is, a facially
valid statute may violate Article I, section 8, if it is applied
“so that it did, in fact, reach privileged communication.” City
of Eugene v. Miller, 318 Or 480, 490, 871 P2d 454 (1994).
         Defendant argues that he was convicted for the con-
tent of his messages, which reached privileged communica-
tion. Defendant argues that, here, K sought only to forbid
him from sending messages with particular communicative
content, and, further, that the trial court explicitly relied
on the communicative content of defendant’s speech when
it denied his MJOA. The state does not dispute that defen-
dant’s text messages are communications that are subject to
protection under Article I, section 8. However, the state con-
tends that defendant was convicted for the act of sending the
text messages, not because of the content of the messages.
         Defendant asserts that the scenario here is analo-
gous to that in Miller, 318 Or 480, in that his prosecution
reached privileged communication. In Miller, the defendant
was convicted of violating a sidewalk vending ordinance and
the Supreme Court agreed with the defendant that, as applied
to him, the ordinance violated Article I, section 8, because it
“unreasonably impinge[d] on the dissemination of expressive
material that is itself protected under Article I, section 8.” Id.444                                              State v. Cook

at 482, 486. The defendant was cited for selling a joke book
to a pedestrian on a sidewalk in violation of an ordinance
that permitted licensed vendors to sell only food, beverages,
flowers, or balloons that were designated on the license. Id. at
483. The court applied the third Robertson category and con-
cluded that as applied to the defendant, the ordinance uncon-
stitutionally denied the defendant “the same opportunity for
the public sale of his expressive material goods that [was]
given to vendors of other products.” Id. 491-92.
          In contrast, in Pucket, another case in which a defen-
dant asserted an “as applied” challenge, we concluded that
a disorderly conduct statute did not violate Article I, sec-
tion 8, as applied to the defendant. In that case, the defen-
dant was standing on the sidewalk in front of a Fred Meyer
store using an electrified bullhorn to preach to passersby.
291 Or App at 772. He was convicted of second-degree dis-
orderly conduct for recklessly creating a risk of public incon-
venience, annoyance, and alarm by making unreasonable
noise. Id. The trial court denied the defendant’s MJOA after
concluding that the defendant had been arrested for mak-
ing unreasonable noise rather than for the content of his
speech. Id. at 774. The defendant had been warned by police
officers that “he was free to speak his mind but could not use
the bullhorn to make an unreasonable noise” and employees
and customers from nearby businesses complained about
the noise; there was nothing in the record that suggested
that the complaints were based on the content of the defen-
dant’s message. Id. at 775-76. In addition, officers testified
that they arrested the defendant because of the volume
and duration of his noise. Id. at 776. Given the record, we
agreed with the trial court that the “defendant’s prosecution
was not ‘directed at the content or the expressive nature of
[his] activities.’ ” Id. at 776 (quoting Babson, 355 Or at 408(emphasis and brackets in Pucket)); see also State v. Rich,
218 Or App 642, 651, 180 P3d 744 (2008) (disorderly con-
duct statute was applied against the defendant because of
the noncommunicative elements of his speech and was not
unconstitutional as applied to him).
        Defendant argues that the evidence shows that K
sought to prohibit only certain of defendant’s text messages
Cite as 334 Or App 437 (2024)                               445

that she perceived as demeaning or insulting—in other
words, she sought to forbid messages with particular com-
municative content. The record supports that assertion. In
its opening statement, in a preview of its evidence, the state
told the jury that in the text messages, K
   “[is] asking [defendant] to please not make derogatory com-
   ments to her this way, and just, let’s talk about the kids.
      “So you’ll see messages between the two of them that
   are about children, * * * and then you’ll see messages that
   come from him to her that are derogatory. And you’ll see
   messages from her to him telling him to stop, which is what
   the statute indicates.”
The state called Officer Durr to testify. He explained that
he received a call from K, who wanted to talk to him about
filing a complaint or stopping defendant from texting her.
He collected screenshots of text messages between K and
defendant and agreed, when questioned, that the messages
contained derogatory statements from defendant to K but
did not contain derogatory statements from K to defendant.
Durr agreed that it is a crime when a person sends text mes-
sages after they have been advised not to.
         As the prosecutor’s opening statement asserted
it would, K’s testimony indicated that K wanted to pre-
vent only certain kinds of text messages from defendant.
K testified that it was “[n]ot a problem” if defendant were
to text her about the children needing a coat or defendant
picking up the children. She also testified that, “We have
to get along. If you can’t not [sic] get along, don’t talk.” She
explained that she responded to defendant’s texts with all of
the “leave me alones” because she did not want to engage in
a fight with defendant—she did not “want the petty game.”
K agreed that she would not have told defendant to leave her
alone if he was “talking about parenting stuff.” In re-direct
testimony, K was asked by the state if she felt harassed by
certain text messages, and she responded, “A little. It’s more
he’s just mocking me though.” When asked if she felt like it
was annoying, she replied in the affirmative.
         The state argues that the evidence was sufficient to
convict defendant for the act of sending the text messages.
It points to the fact that that the trial court instructed the
446                                                            State v. Cook

jury that the content of defendant’s speech was protected
by the constitution and that it could only consider the con-
tent of the messages to consider what defendant’s intent
was when he sent them. The state also notes that its clos-
ing argument reflected the same correct understanding of
the law expressed in the jury instructions. The state also
argues that Article I, section 8, does not prevent private
citizens, like K, from making content-based distinctions in
what messages can be sent to their phone.
         There are several problems with the state’s argu-
ments. First, although K is a private citizen, this case
involved state actors in the prosecution of defendant. This is
not a situation where one person privately told another per-
son not to send certain kinds of text messages. K involved
the police, as she was entitled to do, and the state prosecuted
defendant. In addition, although there were aspects of the
way this case was presented to the jury that attempted to
apply the statute without reaching the content of protected
communication—that once a person is told not to text, they
cannot text—the only evidence was that certain texts to
K were acceptable, and others were not. Despite the jury
instructions indicating that the content of the texts was rel-
evant only to defendant’s intent, the only evidence that the
texts had the required result of harassing or annoying K
was based on their content. On this record, we conclude that
ORS 166.090(1)(c) as applied, reached privileged communi-
cation, and impermissibly burdened defendant’s right of free
speech.4
           Reversed.




    4
      In reaching this result, we do not intend to minimize the nature of the
texts defendant sent. We also note that our ruling is specific to this statute and
the record before us. We express no opinion on the ability of courts to put param-
eters around communication between parties in matters involving, for instance,
domestic relations or protective order situations.
